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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                                 NO. 4:11CR00290-08 JLH

NANCY ASHCRAFT                                                               DEFENDANT

                                            ORDER

       Nancy Ashcraft’s motion for early termination of probation is GRANTED. Document #547.

Ashcraft’s probation is hereby terminated, and she is discharged.

       IT IS SO ORDERED this 2nd day of October, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
